                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                    at GREENEVILLE

  _______________________,                         )
                                                   )
  Plaintiff(s),                                    )
                                                   )           Case No. _______________
  v.                                               )
                                                   )
  _______________________,                         )
                                                   )
  Defendant(s).                                    )

            NOTICE OF CONSENT / NON-CONSENT TO MAGISTRATE JUDGE

         All parties to the above-captioned civil matter are DIRECTED to select one of the
  following two options and, as soon as practicable, file a single joint copy of this document on the
  Court’s electronic case filing system.

          In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, all parties
          to this action hereby consent to have a United States magistrate judge conduct all
          further proceedings in the above-captioned civil matter, including trial and entry of final
          judgment.

          Pursuant to 28 U.S.C. § 636(c)(3), any appeal from a judgment of the presiding
          magistrate judge shall be taken to the United States Court of Appeals in the same
          manner as an appeal from any other judgment of the District Court.


          The parties do not consent to proceed before a magistrate judge.


       Complete this section only if all parties have consented to proceed before a
  magistrate judge.

        If all parties to this action consent to proceed before a magistrate judge,
  each party must provide a representative signature below (electronic signatures
  and signatures by permission are acceptable):

  Parties’ printed names               Signature of parties/attorneys          Date

  _______________________              _________________________                _________

  _______________________              _________________________                _________

  _______________________              _________________________                _________

  _______________________              _________________________                _________

  _______________________              _________________________                _________

  _______________________              _________________________                _________

  (If necessary, include all additional parties on a separate sheet.)


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  Do not complete this section – Court use only.



                                   ORDER OF REFERRAL

          This case is hereby REFERRED to a United States magistrate judge to conduct all

  proceedings and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and

  Fed. R. Civ. P. 73.


          SO ORDERED this          day of                       , ____.




                                                      UNITED STATES DISTRICT JUDGE




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